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                          Ex. 2
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            which subsequently launched a criminal investigation.

            Based on the U-M cybersecurity team’s investigation, it appears that the threat
            actor gained unauthorized access to some of your accounts and/or data. They
            also logged into your U-M account management settings, where they may have
            viewed and/or changed your password recovery phone number and password
            recovery email address. Additionally, they logged into your M+Google email
            and/or Google Drive. The U-M cybersecurity team was unable to tell which
            emails or files they may have accessed or deleted while logged in, or whether
            your email settings were altered.

            While there is no evidence at this time that the threat actor accessed additional
            personal information in your account, it is possible they may have accessed
            other accounts linked to your U-M email address (online banking, social media,
            password management, etc.).


            What we are doing about this
            As part of the response and investigation, we:

                    Randomized your password, so the threat actor would no longer be
                    able to access your account.


                    Identified and fixed the flaw in the password reset application.


                    Engaged UMPD so they could pursue a criminal investigation.


                    Continue to support the UMPD and other U-M inquiries into the matter.


            What you should do
            We randomized your umich account password on December 23, 2022. If you
            have reset your password after this date, there is no need to do so again. If you
            have not reset your password, and need to regain access, please contact the
            ITS Service Center (734-764-4357). You should also change your password for
            any accounts linked to your umich email address. Be sure to choose a strong,
            secure password to reduce the risk that your password will be guessed.
            Guidance for choosing a strong password is available at
            https://documentation.its.umich.edu/node/240/.

            In addition, enable two-factor authentication for Weblogin to protect your umich
            account. Consider enabling two-factor authentication for personal accounts,
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            whenever it is offered. Guidance for enabling two-factor authentication is
            available at https://safecomputing.umich.edu/two-factor-authentication/turn-on-
            weblogin.

            Finally, we recommend that you complete a Google security checkup of your
            umich account via https://myaccount.google.com/security-checkup, as well as
            check your umich email settings, in particular filters and forwards. If you find
            any unfamiliar settings, please report them to UMPD at
            https://www.dpss.umich.edu/content/about/contact/ before editing or deleting
            them.


            U-M-provided identify theft protection
            Please remain vigilant for incidents of fraud and identity theft. At this time, the
            University of Michigan is providing you with a one-year complimentary LifeLock
            Standard™ identity theft protection, which includes:

                    LifeLock Identity Alert™ System


                    24/7 Live Member Support


                    Dark Web Monitoring


                    LifeLock Privacy Monitor™


                    Lost Wallet Protection


                    Stolen Funds Reimbursement up to $25,000


                    Personal Expense Compensation up to $25,000


                    Coverage for Lawyers and Experts up to $1 million


                    U.S.-Based Identity Restoration Team


                    One-Bureau Credit Monitoring 1


                    Reduced Pre-Approved Credit Card Offers
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                    USPS Address Change Verification.

            To activate your membership online and get protection at no cost to you:
            1. You will need the following Promo Code                and Member ID:
                       , which have been assigned specifically to you, for one-time use.
            2. To begin, please click on the following URL: https://buy.norton.com/ps?
            selSKU=21420051&ctry=US&lang=en&tppc=
            ff91af38d3ac84fbb4aa582b926a7941&ptype=cart&promoCode=UMAA2301.
            3. Enter the Member ID from above and click Apply.
            4. Once enrollment is completed, you will receive a confirmation email.

            Alternatively, to activate your membership over the phone, please call: 1-800-
            899-0180.

            You will have until April 4, 2023 to enroll in this service.
            Once you have completed the LifeLock enrollment process, the service will be
            in effect.


            Additional identity theft guidance
            About Credit Monitoring
            You can take further steps to protect yourself by contacting one of three
            companies below to place a fraud alert on your credit report.



                    Equifax: 1-800-525-6285;
                   P.O. Box 740241, Atlanta, GA 30374-0241

                    Experian: 1-888-EXPERIAN (397-3742);
                   P.O. Box 9532, Allen, TX 75013

                    TransUnion: 1-800-680-7289;
                   Fraud Victim Assistance Division, P.O. Box 6790, Fullerton, CA 92834-
                   6790

            This is a free service. You need to contact only one company. The company
            you contact is required to contact the other two.

            Furthermore, each of the three nationwide consumer credit reporting agencies
            is required to provide you with one free credit report per 12-month period upon
            your request. It is always a good practice to regularly review activity on your
            accounts and to obtain your credit report from one or more of these companies.
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            The easiest way to get free copies of your credit report is to visit
            AnnualCreditReport.com.

            Consider a Credit Freeze
            A credit or security freeze lets you restrict access to your credit report, which
            makes it more difficult for identity thieves to open new accounts in your name.
            This is because potential creditors need to see your credit report before
            approving a new account. You'll need to lift the freeze temporarily if you apply
            for a credit card, loan, or other credit service.

            Credit freezes are free. See the Federal Trade Commission's Credit Freeze
            FAQs at https://www.consumer.ftc.gov/articles/0497-credit-freeze-faqs for
            details.

            Report Identity Theft
            If you believe that you may have been a victim of identity theft, we encourage
            you to:



                    Review the Federal Trade Commission’s Taking Charge: What To Do
                    If Your Identity Is Stolen at http://www.consumer.ftc.gov/articles/pdf-
                    0009-taking-charge.pdf.


                    Submit the Internal Revenue Service’s Identity Theft Affidavit, Form
                    14039 at http://www.irs.gov/file_source/pub/irs-pdf/f14039.pdf.

            Both the FTC and IRS also provide additional resources for potential victims of
            identity theft:

                    Federal Trade Commission Identity Theft website at
                    http://www.consumer.ftc.gov/features/feature-0014-identity-theft.


                    Internal Revenue Service Identity Protection website at
                    http://www.irs.gov/uac/Identity-Protection.

            Find out more about securing your devices and accounts
            The U-M Safe Computing website provides information to help you protect
            yourself:

                    Manage Your Passwords at https://safecomputing.umich.edu/protect-
                    yourself
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